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 5                              UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
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 8   SHANEQUA NORMAN,                                       Case No. 2:21-cv-01415-RFB-DJA
 9             Plaintiff(s),                                               Order
10   v.
11   NBC OPERATIONS, LLC,
12             Defendant(s).
13         At the early neutral evaluation conducted today, both sides expressed ignorance as to the
14 basic contours of the opposing party’s claims or defenses. Hence, the Court has continued the
15 ENE to enable the exchange of documents to foster a better understanding of the claims and
16 defenses. In addition, the Court hereby ORDERS counsel to engage in meaningful dialogue (in-
17 person, by telephone, or by video conference) regarding their settlement positions and their clients’
18 claims or defenses.1 This conference must take place by 3:00 p.m. on October 12, 2021.
19         Moreover, amended ENE statements must be submitted by 3:00 p.m. on October 13, 2021.
20         IT IS SO ORDERED.
21         Dated: September 29, 2021
22                                                               ______________________________
                                                                 Nancy J. Koppe
23                                                               United States Magistrate Judge
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            Such discussion should have already taken place. See Fed. R. Civ. P. 26(f)(2) (identifying
   as a responsibility of counsel at the Rule 26(f) conference to discuss “the nature and basis of their
28 claims and defenses and the possibilities for promptly settling or resolving the case”).

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